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 6
     Attorneys for Plaintiffs and Others
 7   Similarly Situated
 8

 9                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
10
     David Deluca and Barry Francis, individually,    Case No. 3:17-cv-00034-TSH
11   on behalf of themselves and others similarly
     situated, and on behalf of the general public,   DECLARATION OF DANIEL BROME IN
12   and Melissa Laughlin, individually,              SUPPORT OF PLAINTIFFS’ MOTION
13                                                    FOR ATTORNEYS’ FEES AND COSTS,
                Plaintiffs,                           AND SERVICE PAYMENTS
14
     v.                                               Date:      September 10, 2020
15                                                    Time:      10:00 a.m.
     Farmers Insurance Exchange,                      Courtroom: G, 15th Floor
16
                Defendant.
17
                                                      Action Filed: Jan. 4, 2017
18
                                                      Hon. Thomas S. Hixson
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 1   I, Daniel Brome, declare as follows:
 2           1.      I am an attorney with the law firm of Nichols Kaster, counsel of record for the
 3   Named and Opt-in Plaintiffs and the Rule 23 Class in this matter. I make this declaration based
 4   upon my personal knowledge, and could so testify if called to do so.
 5           2.      The Parties have completed substantial discovery throughout this litigation through
 6   written discovery requests and responses, and through a significant number of depositions.
 7   Specifically, Defendant has deposed twenty-five Named and Opt-in Plaintiffs and three absent
 8   Class Members. Plaintiffs have deposed ten witnesses, including Defendant’s expert and numerous
 9   managers and supervisors. The Parties have exchanged close to 10,000 pages of documents.
10           3.      Class Counsel reviewed and analyzed earnings and hours worked data for Rule 23
11   Class Members and FLSA Opt-ins prior to mediation. With this data, Class Counsel was able to
12   calculate potential damages in conjunction with the risk of loss to Class Members. The damages
13   were calculated using individual payroll data, and individual hours testimony from 28 deponents.
14   For individuals who were not deposed, damages were calculated based on one of two averages: all
15   Opt-In deponents were averaged to obtain an average for other Opt-Ins, and all California workers
16   (whether Opt-In or absent class members) were averaged to obtain an average for other Rule 23
17   Class Members. Under these calculations, the maximum damages as calculated at mediation were
18   $11,588,507.29. This total value assumes complete success on: (1) defeating decertification as to
19   the FLSA collective and California Class, (2) recovering damages based on Plaintiffs’ maximum
20   claimed hours, (3) establishing liability under the FLSA, California law, and New York law, (4)
21   establishing a willful violation, and (5) recovering liquidated damages. Of course, given the
22   number of variables, it would be possible for Plaintiffs to recover less than the maximum amount.
23   By way of example, if Plaintiffs recovered based on a two-year (non-willful) statute of limitations,
24   without liquidated damages, based on an average of 45 hours per week, the total recovery would
25   be $3,979,118.56 – significantly less than the value of the settlement here. The settlement amount
26   ($5,400,000) represents 46.6% of the maximum damages as calculated at mediation.
27           4.      The settlement amount, $5,400,000, will bring substantial relief to the class
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 1   members, which will cover 78 class and collective members. Assuming the Court approves the
 2   requested fees, costs, and service awards, the settlement will distribute $3,620,000—31% of the
 3   maximum value of the claims. Assuming all of these individuals participate in the settlement, this
 4   amounts to an average value of $46,410.26 per person, after deductions for attorneys’ fees and
 5   costs. The settlement amounts range from $1,256.46 to $156,611.76, with 19 individuals receiving
 6   over $70,000.
 7           5.      Class Counsel is a qualified firm with extensive experience in class action and
 8   wage and hour litigation. The Nichols Kaster firm has been in existence for over thirty years and is
 9   focused on advocating for employee and consumer rights. Nichols Kaster has represented
10   thousands of employees in hundreds of cases. Nichols Kaster has been involved in the most
11   relevant cases here, having represented special investigators in both Calderon v. GEICO Gen. Ins.
12   Co. and Foster v. Nationwide Ins., as well as Fenton v. Farmers and McKeen-Chaplin v. Provident
13   Savings Bank.
14           6.      The two original Named Plaintiffs brought this action on behalf of a group of
15   workers so that all of Defendant’s special investigators could benefit. They were actively involved
16   in the litigation, providing information and assistance to counsel. Plaintiffs Deluca and Francis are
17   the foundation for the case, and the lead Plaintiffs for the FLSA Collective and the California
18   Class. In addition to providing documents, testifying at deposition, and providing substantial
19   assistance and information to counsel, Plaintiff Francis traveled from his home in Ireland to
20   California for his deposition and was prepared to travel back for trial, and Plaintiff Deluca
21   participated in a full-day settlement conference that ultimately led to the settlement here.
22   Additionally, the Named Plaintiffs are agreeing to a general release, as opposed to the narrow
23   release applicable to FLSA Opt-ins and Rule 23 Class Members.
24           7.      Work performed by Nichols Kaster attorneys and legal staff is recorded
25   contemporaneously using a timekeeping program called AdvantageLaw. I have reviewed the hours
26   billed to this case. In an exercise of billing judgment, I reduced or removed several entries, and
27   excluded some timekeepers altogether. After review, I determined that my firm reasonably spent
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 1   3,344.9 hours litigating this matter, not including work on the current motion. At our current rates,
 2   the lodestar is $1,305,287.50. That amount includes time spent from investigating the claims pre-
 3   suit, to filing Plaintiffs’ motion for preliminary approval of the settlement. Specifically, the hours
 4   reflect Class Counsel’s work investigating the claims pre-suit; interviewing potential clients, all 38
 5   Named and Opt-in Plaintiffs, and many of the 40 Rule 23 absent class members; preparing
 6   discovery responses for over 20 Opt-in Plaintiffs; reviewing close to 10,000 pages of documents;
 7   preparing plaintiff documents to be produced; briefing and arguing several motions, including
 8   discovery motions, Plaintiffs’ motion for conditional certification, Plaintiffs’ motion for class
 9   certification, Plaintiffs’ motion for partial summary judgment (and responding to Defendant’s
10   motion for summary judgment), responding to Defendant’s motion for decertification, and filing
11   Plaintiffs’ proposed trial plan; preparing for and taking 10 depositions of Defendant’s witnesses
12   around the country; defending Plaintiff and class member depositions around the country;
13   calculating and revising a detailed damages model; conducting and preparing for a full-day
14   mediation session in May 2018 and a full-day settlement conference in February 2020; preparing
15   for trial; negotiating the settlement terms; and briefing Plaintiffs’ motion for preliminary approval.
16           8.      Plaintiffs’ Counsel will spend additional time implementing the settlement
17   agreement and securing final approval. Plaintiffs’ Counsel is actively communicating with class
18   members with questions, and will assist the Settlement Administrator in locating any individuals
19   whose notice was returned undeliverable. Additionally, Plaintiffs’ Counsel will prepare for and
20   appear at the Final Approval Hearing. If the Court grants final approval, Plaintiffs’ Counsel will
21   spend additional time communicating with class members about their payments. I estimate that
22   this unbilled work will require an additional 20 hours of attorney time and 20 hours of staff time.
23   Those hours are not included in the lodestar figure to date.
24           9.      Many of those 3,344.9 hours were billed by myself (1,010.1 hours). Two Partners
25   with the firm also played substantial roles in this litigation, Reena Desai (1,051.7 hours) and
26   Matthew Morgan (339.4 hours). Several other attorneys recorded time on this case, including
27   Matthew Helland (17.5 hours) and Brittany Bachman Skemp (12.2 hours); in an exercise of billing
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 1   judgment, time from four attorneys who recorded less than ten hours each was excluded from the
 2   claimed lodestar. In total, the attorney time billed so far is 2,430.94 hours:
 3
             Attorney                             Hours                               Rate
 4
             Brittany Bachman Skemp               12.2                                325
 5
             Daniel S. Brome                      1,010.1                             425
 6
             Reena I. Desai                       1,051.7                             475
 7
             Matthew C. Helland                   17.5                                625
 8
             Matthew H. Morgan                    339.4                               600
 9

10           10.      Brittany Bachman Skemp is a former associate in the firm’s wage and hour
11   practice. She graduated magna cum laude from the William Mitchell College of Law (now
12   Mitchell Hamline) in 2013, and was admitted to the Minnesota bar that year. Her time was billed
13   at $325 per hour.
14           11.      I joined Nichols Kaster in 2014, and am an associate in the firm’s wage and hour
15   practice. I graduated from the University of California Berkeley School of Law in 2011 and was
16   admitted to the California Bar that same year. I have been practicing employment and labor law
17   since then. I have been named to the Rising Stars List, Northern California Super Lawyers, and
18   San Francisco Magazine every year since 2016. In addition to this case, I have significant
19   experience class and collective overtime claims under the FLSA and state law. My time was billed
20   at $425/ hour.
21           12.      Matthew Helland is the managing partner of Nichols Kaster’s San Francisco
22   office, where he focuses his practice on class and collective wage and hour cases filed in
23   California and throughout the country. Mr. Helland was admitted to the Minnesota Bar in 2005
24   and to the California Bar in 2007. He handles both large class actions and individual matters;
25   throughout his career he has developed a record of success in significant and complex litigation.
26   Mr. Helland has been named to the Rising Stars List, Northern California Super Lawyers, and San
27   Francisco Magazine every year since 2012. In addition to representing workers across the country
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 1   in wage and hour actions, he has also handled cases involving WARN Act violations, breach of
 2   contract, and severance negotiations. His time was billed at $625/ hour.
 3           13.     Reena Desai is a partner at Nichols Kaster. She received a B.A. from the George
 4   Washington University in 2002 and a J.D. from the University of Minnesota Law School in 2007.
 5   She was admitted to the bar of the State of Minnesota in 2007. Ms. Desai has worked at Nichols
 6   Kaster since 2009, and before joining Nichols Kaster, she practiced at a large law firm in
 7   Minneapolis working on complex litigation. As an attorney at Nichols Kaster, she has represented
 8   thousands of employees in dozens of class and collective actions for overtime pay, and has spoken
 9   at several national conferences on wage and hour issues. She has been named a Rising Star by
10   Minnesota Super Lawyers every year since 2014. Ms. Desai also serves as an adjunct professor at
11   the University of Minnesota Law School. Her current hourly rate is $475.
12           14.     Matthew Morgan is a managing partner at the Firm and a Minnesota State Bar
13   Association Civil Trial Specialist. Much of Mr. Morgan’s career has focused on litigating class
14   and collective actions on behalf of individuals seeking minimum wage and overtime pay and
15   fighting discrimination. He has been recognized as a Super Lawyer every year since 2014, and has
16   been named to the Who’s Who in Employment Law by Minnesota Law and Politics. Mr. Morgan
17   formerly served as an adjunct faculty member at William Mitchell College of Law (now Mitchell
18   Hamline) teaching representation skills to first-year students and advanced advocacy to second-
19   and third-year students. He is a frequent lecturer at legal seminars, focusing on litigation-related
20   topics including trials and taking 30(b)(6) depositions. Mr. Morgan graduated from the William
21   Mitchell College of Law 2000 and was admitted to the Minnesota bar that year. His time was
22   billed at $600 per hour.
23           15.     Mr. Helland and I represented the plaintiffs in the case McKeen-Chaplin v.
24   Provident Savings Bank, which dealt with the application of the administrative exemption to the
25   FLSA and California overtime law, and which was central to the Court’s analysis in deciding
26   summary judgment in this case. Mr. Morgan and Ms. Desai were both involved in representing the
27   plaintiffs in three other cases involving special investigators for insurance companies (Fenton v.
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 1   Farmers Ins. Exch., Calderon v. GEICO Gen. Ins. Co., and Foster v. Nationwide Ins.), all of
 2   which have been analyzed throughout the case.
 3           16.      My firm also relies extensively on highly-skilled non-attorneys. In this case, non-
 4   attorney time accounted for 914.0 hours billed:
 5
                   Position                      Hours                           Rate
 6
                   Class action clerks           373.1                           175
 7
                   Damages analysts              79.1                            175
 8
                   Paralegals                    288                             175
 9
                   Law Clerks                    173.8                           175
10
             17.      Several members of Nichols Kaster’s legal staff performed billable work on this
11

12   case. The hourly rate for these staff members was $175 throughout the litigation. These employees

13   are integral to the success of a case such as this. The paralegals, damages analysts, law clerks, and

14   class action clerks are talented and capable employees who are crucial to our success in

15   prosecuting wage-and-hour actions with multiple plaintiffs.

16           18.      Our class action clerks perform several vital functions. First and foremost, they act

17   as the conduit for information between our attorneys and clients. This responsibility begins prior to

18   the filing of the complaint and continues throughout the litigation and even after settlement. In this

19   role, the class action clerks are responsible for interviewing each client, updating the clients on the

20   status of the case, scheduling and setting up meetings and depositions, and obtaining documents,

21   including declarations, interrogatory responses, responses to document requests, and in the

22   settlement context, releases and claim forms. Class action clerks also assist attorneys in review of

23   documents, in drafting discovery responses and declarations, and in preparing for depositions and

24   document productions.

25           19.      Plaintiffs’ counsel handled this case on a contingency basis. Plaintiffs’ Counsel

26   did not receive any payment for their time spent litigating the case, nor did they receive

27   reimbursement for their out of pocket costs during the litigation.         Plaintiffs’ Counsel alone

28   undertook the financial risk of unsuccessful litigation.
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 1            20.     Class Counsel entered into a contingency fee agreement with many of the FLSA
 2   Opt-ins. This fee agreement entitles Class Counsel to seek attorneys’ fees under fee shifting
 3   statutes, or to recover one-third of any settlement or judgment. Additionally, Class Counsel was
 4   obligated to advance all costs of this proceeding, and agreed to pay any adverse award of costs.
 5   The fee agreement in this case is commonly used by Nichols Kaster in similar cases.
 6            21.     Because of this contingency fee arrangement, Class Counsel has not received any
 7   payment for the time spent litigating this case, nor have they received reimbursement for their out-
 8   of-pocket costs during the litigation. Class Counsel alone undertook the financial risk of
 9   potentially unsuccessful litigation.
10            22.     As this Court is undoubtedly aware, large-scale wage-and-hour litigation is, by its
11   very nature, complicated and time consuming. Whether handled on a class basis, collective basis,
12   or as a series of individual claims, these actions are difficult and risky. Given the inherent risks,
13   our firm would not have accepted a case such as this on anything other than a contingency fee
14   basis. Likewise, it would have been difficult for Plaintiffs to retain counsel in any other
15   arrangement, particularly considering the amount of damages at stake in relation to the costs of
16   litigating this type of action.
17            23.     Nichols Kaster has litigated numerous wage-and-hour collective actions in which
18   there was little or no recovery. By way of example, in Epps v. Oak Street Mortgage, LLC, the
19   initial nationwide collective action was filed in February 2004. After the motion for conditional
20   certification was denied, the plaintiffs filed 24 separate collective actions in district courts across
21   the country. After more than three years of litigation, the defendant filed for Chapter 11
22   Bankruptcy relief and there was no recovery of attorneys’ fees. The firm has handled several other
23   cases with similar results. The firm has a demonstrated track record of taking on cases it believes
24   in despite the risk of recovering nothing.
25            24.     At the time this case was filed, there was no indication that a settlement would be
26   reached or that the outcome of litigation would be successful. Class Counsel has yet to be
27   compensated for any time or expense since the litigation began.
28
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 1           25.     Plaintiffs’ Counsel also requests approval of $85,430.76 in costs. Nichols Kaster
 2   incurred these unreimbursed costs during this litigation, which it advanced on behalf of Plaintiffs.
 3   A report of our costs to date is attached hereto as Exhibit A. There have been 38 depositions in
 4   this case, and the bulk of the costs relate to these depositions and include travel to and from the
 5   depositions, which have been conducted in thirteen states, from New York to Hawaii, as well as
 6   transcript costs. The costs are broken down as follows:
 7             Category                Cost
               Filing fee               $1,076.30
 8             Mediation                $4,200.00
               PACER                       $73.60
 9
               Postage                  $1,575.71
10             Printing                   $265.78
               Transcript              $27,528.63
11
               Travel                  $47,525.63
12             Westlaw                  $3,185.11
               Total                   $85,430.76
13
             26.     Payment of these costs is already factored into the allocation. In addition to the
14
     costs incurred to date, Plaintiffs’ Counsel may incur additional costs in connection the hearing on
15
     the motion for final approval. Plaintiffs’ Counsel therefore requests reimbursement of $85,430.76
16
     in costs. This amount is also appropriate because Plaintiffs’ Counsel’s private agreements with
17
     their clients (the Opt-in Plaintiffs) provide for reimbursements of litigation costs in addition to
18
     payment of attorneys’ fees. This cost amount is lower than what was reflected in the settlement
19
     agreement, the preliminary approval motion, and the notices sent to class members ($100,000).
20
             27.     Additionally, the settlement administrator, CPT Group, Inc., has quoted that the
21
     costs of administration should not exceed $11,500. Plaintiffs request approval of this amount, to be
22
     paid from the settlement fund. This amount is lower than what was reflected the preliminary
23
     approval motion (up to $14,000).
24
             28.     Following the granting of preliminary approval, the Settlement Administrator
25
     mailed the Notices of Settlement to the individuals covered by the settlement as scheduled on June
26
     9, 2020. The Notices were substantially identical to the materials provided to the Court with the
27
     preliminary approval motion. The deadline for Rule 23 Class Members to file objections is July
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 1   24, 2020; none have been received as of the filing of this motion. The deadline for FLSA Opt-ins
 2   to return their release forms is also not until July 24, 2020; so far 33 out of 37 Opt-ins (89%) have
 3   already returned their forms.
 4

 5   I declare under penalty of perjury under the laws of the State of California that the foregoing is
 6   true and correct.
 7

 8   Dated: July 2, 2020
                                            By:    s/Daniel Brome
 9
                                                   Daniel Brome
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